              Case 2:17-cv-00431-JCM-VCF Document 28 Filed 11/09/20 Page 1 of 1




1                                         UNITED STATES DISTRICT COURT

2                                             DISTRICT OF NEVADA

3                                                       ***
      BRANDYN GAYLER,
4
                             Plaintiff,
5                                                          2:17-cv-00431-JCM-VCF
      vs.                                                  ORDER
6     STATE OF NEVADA, et al.,
7                            Defendants.
8             Before the Court is the Stipulation to Extend Discovery (ECF No. 27). The stipulation is missing
9    pages.
10            Accordingly,
11            IT IS HEREBY ORDERED that the Stipulation to Extend Discovery (ECF No. 27) is DENIED
12   without prejudice.
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14            DATED this 9th day of November, 2020.
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15
                                                                 CAM FERENBACH
16                                                               UNITED STATES MAGISTRATE JUDGE

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